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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

SAS INSTITUTE INC.,                              §
                                                 §
                 Plaintiff,                      §
                                                 §
v.                                               §   CIVIL ACTION NO. 2:18-CV-00295-JRG
                                                 §
WORLD PROGRAMMING LIMITED,                       §
LUMINEX SOFTWARE, INC., YUM!                     §
BRANDS, INC., PIZZA HUT, INC.,                   §
SHAW INDUSTRIES GROUP, INC.,                     §
                                                 §
                 Defendants.                     §


                                              ORDER

            Before the Court is Defendant World Programming Limited’s (“WPL”) Motion to Dismiss

 Plaintiff SAS Institute Inc.’s (“SAS”) Copyright Infringement Claims (Dkt. No. 46), which is

 joined by the remaining Defendants: Luminex Software, Inc. (“Luminex”); Yum! Brands, Inc.

 (“Yum”); Pizza Hut, Inc. (“Pizza Hut”); and Shaw Industries Group, Inc. (“Shaw”) (Dkt. No. 47).

 Having considered the parties’ positions and for the reasons set forth herein, the Court finds that

 the Motion should be and hereby is DENIED.

       I.      BACKGROUND

            SAS brings suit alleging that WPL, a company based in the United Kingdom, has created

 a clone of SAS’s business analytics software (the “SAS System”). (Dkt. No. 1 ¶¶ 2, 7.) SAS alleges

 that, in conjunction with certain resellers, such as Luminex, WPL sold its alleged clone (the “WPS

 System”) to customers in the United States, including Yum, Pizza Hut, and Shaw. (Id. ¶¶ 3, 12–

 15, 63–64, 70.) The licensing and use of the WPS System, SAS contends, infringes certain patents

 and copyrights owned by SAS. (Id. ¶¶ 6, 63.)
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          WPL—joined by Luminex, Yum, Pizza Hut, and Shaw—argues that SAS has failed to

plead with sufficient particularity to state claims for copyright infringement and seeks dismissal

of those claims. (Dkt. Nos. 46, 47.)

   II.       LEGAL STANDARD

          A party may move to dismiss a claim for failure to state a claim for relief. FED. R. CIV. P.

12(b)(6). “[A] motion to dismiss under 12(b)(6) is viewed with disfavor and is rarely granted.”

Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011). “To survive dismissal, a plaintiff must plead

‘enough facts to state a claim to relief that is plausible on its face.’” Thompson v. City of Waco,

Tex., 764 F.3d 500, 503 (5th Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)); see also FED. R. CIV. P. 8(a)(2). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Thompson, 764 F.3d at 503 (quoting Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009)). The court must “accept all well-pleaded facts as true and view [them] ... in the light

most favorable to the plaintiff.” Thompson, 764 F.3d at 503 (citing Iqbal, 556 U.S. at 678).

   III.      ANALYSIS

          A. Copyright claims are not subject to a heightened pleading standard.

          As an initial matter, the parties disagree on what is required to state a claim for copyright

infringement. WPL argues that SAS must allege: (1) which specific original works are the subject

of the claim, (2) that the plaintiff owns the copyright, (3) that the works have been registered in

compliance with the copyright laws, and (4) by what acts and during what time the defendant has

infringed the copyright. E.g., Sefton v. Jew, 201 F. Supp. 2d 730, 747 (W.D. Tex. 2001). (See Dkt.

No. 46, at 7.) SAS responds that the courts within the 5th Circuit have consistently held that a

plaintiff need only plead: “(1) ownership of a valid copyright; and (2) copying constituent elements



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of the work that are copyrightable.” Geophysical Serv., Inc. v. TGS-NOPEC Geophysical Co., 850

F.3d 785, 791 (5th Cir. 2017). (See Dkt. No. 58, at 3.)

       WPL has failed to “point to any Fifth Circuit or Supreme Court authority, and the court is

aware of none, applying a heightened pleading standard for copyright infringement.” Joseph Paul

Corp. v. Trademark Custom Homes, Inc., No. 3:16-cv-1651-L, 2016 WL 4944370, at *12 (N.D.

Tex. Sept. 16, 2016); accord AK FortySeven Records Ltd. Co. v. Bahamas Ministry of Tourism,

No. 4:17-cv-3750, 2018 WL 1877020, at *2 (S.D. Tex. Apr. 19, 2018). Should the Fifth Circuit

wish to depart from the standard it espoused as recently as 2017, that prerogative lies with the Fifth

Circuit and not this Court. Absent such guidance, the Court finds that SAS need only plead

ownership of a valid copyright and copying of constituent elements of the work that are

copyrightable.

       B. SAS has sufficiently plead a claim for copyright infringement.

       WPL argues that SAS has failed to allege (1) ownership of valid copyrights (Dkt. No. 46,

at 8) and (2) acts of infringement (Id. at 10). However, the Court finds that SAS’s allegations are

sufficient in both regards.

                   Ownership of a valid copyright

       WPL argues that SAS has failed “to allege ownership of any specific registered

copyrights.” (Dkt. No. 46, at 8.) However, SAS alleges that “the SAS System, in its various

releases and iterations with updates, and including the SAS Learning Edition and the SAS

Manuals, are subject to well over 100 Copyright Registrations, each duly registered with the

United States Copyright Office.” (Dkt. No. 1 ¶ 72.) SAS similarly alleges that it protects the SAS

System by “registering versions of its manuals and its software licensed to the public with the




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United States Copyright Office.” (Id. ¶ 36.) Viewed in the light most favorable to SAS, these

allegations establish ownership of valid copyrights. Iqbal, 556 U.S. at 678.

       Indeed, even under the heightened pleading standards entertained in Sefton, SAS’s

allegations would be sufficient. In Sefton, the court rejected the defendants’ arguments that

“Plaintiff has not specified which of his [works] were allegedly infringed” and that “Plaintiff has

failed to plead that all of the allegedly infringed works have a copyright registration.” 201 F. Supp.

2d at 747. The Sefton court found that “Plaintiff has provided copies of a portion of the works at

issue and copies of [Defendants’ works] that show the alleged infringement.” Id. Moreover,

“Plaintiff alleged in his complaint that he has complied with all copyright laws and that he owns

all rights to the [works] that are the subject of this suit.” Id. at 748. Accordingly, the court found

the allegations sufficient to put the defendants on notice of the plaintiff’s copyright claim and

sufficient to plead registration of the works at issue. Id. at 747–48. Similarly, here, SAS has

provided several examples of its own works juxtaposed with WPL’s allegedly infringing copies

(Dkt. No. 1 ¶¶ 128–48.) It has alleged that these works are subject to copyright registrations. (Id.

¶¶ 36, 72.) The Court finds that these allegations would be sufficient even under the standards

relied upon in Sefton.

                   Acts of infringement

       WPL next argues that SAS has failed to allege acts of infringement. (Dkt. No. 46, at 10.)

Particularly, WPL disputes whether SAS has alleged infringement that occurred within the United

States and within the 3-year limitations period. (Id. at 11–12.)

       SAS has alleged that the infringing WPS software is regularly provided, sold, and offered

in the State of Texas (Dkt. No. 1 ¶¶ 9–12.); that this software is used by customers who have their

principal places of business in the United States (id. ¶¶ 13–16.); and that, when these customers



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license and use WPS, “they make copies and derivative works of the infringing WPS software,

and therefore wrongfully copy the SAS System” (id. ¶ 63). These allegations are sufficient to allege

acts of infringement within the United States.

       Moreover, while SAS alleges that WPL hatched its plan to “create a clone of SAS software”

in 2003 (id. ¶ 42) and improperly accessed the SAS System in 2003 (id. ¶ 51) and 2008 (id. ¶ 53),

SAS also alleges that acts of infringement occur any time WPS software is licensed or used (id.

¶ 63). SAS’s allegations regarding injunctive relief similarly indicate that infringement is present

and ongoing. (Id. ¶¶ 261, 271, 282.) Thus, the Court finds that SAS has sufficiently alleged acts of

infringement that occurred within the United States and within the limitations period.

       Again, the Court finds that even under the standard utilized in Sefton, SAS’s complaint

would still be sufficient. The court in Sefton found that the plaintiff’s allegations that infringement

occurred on a date outside the limitations period and “periodically at different times after that date”

were sufficient in light of the attached pages of the defendants’ website showing allegedly

infringing images. 201 F. Supp. 2d at 748. Here, SAS has identified the products it alleges infringe

its copyrights on the SAS System and has alleged that these products are regularly provided,

offered, and sold in the United States. The Court finds that these allegations would be sufficiently

specific even under the Sefton standard.

       C. Prior SAS–WPL litigation has no bearing on WPL’s motion to dismiss.

       WPL’s motion to dismiss includes a lengthy discussion of the prior litigation between SAS

and WPL in the United Kingdom and in North Carolina. (Dkt. No. 46, at 2–5.) WPL argues that

these protracted legal battles “highlight the importance of SAS abiding by Rule 8 in this case.”

(Dkt. No. 63, at 5.) Additionally, WPL contends that “SAS’s complaint does not pass muster under




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Rule 8” because it “lack[s] details to allow [WPL] to compare the current allegations” to claims

asserted in the prior lawsuits. (Id.)

          The history of prior litigation between WPL and SAS has no bearing on whether SAS has

met the pleading requirements of Rule 8 in this case. WPL points to no authority, and the Court is

aware of none, in support of the proposition that serial litigants should, for that reason, face a

higher pleading standard or that Rule 8 requires a plaintiff to plead detail sufficient to determine

whether the claims pled overlap with prior litigation.

    IV.      CONCLUSION
     .
          For the reasons stated herein, the Court finds that SAS has alleged facts sufficient to state

its claims for copyright infringement. Accordingly, WPL’s Motion to Dismiss Plaintiff SAS

Institute Inc.’s Copyright Infringement Claims (Dkt. No. 46) should be and hereby is DENIED.

For the same reasons, the remaining Defendants’ Rule 12(b)(6) Motion to Dismiss Plaintiff SAS

Institute Inc.’s Copyright Infringement Claims (Dkt. No. 47), joining and incorporating by refence

WPL’s motion, likewise is DENIED.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 4th day of April, 2019.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE




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